Urged: Missouri Primate Foundlatiorcie RetireiL6 Chimipanzeest0 Accredited Sanchiati RacRage ft: of2

ANIMALS ARE NOT OURS

TO EAT, WEAR, EXPERIMENT ON, USE FOR
ENTERTAINMENT, OR ABUSE IN ANY OTHER WAY..

_ Urge the Missouri Primate Foundation to Retire 16
. Chimpanzees to Accredited Sanctuaries!

Parrett

According to public records, 16 chimpanzees are languishing in small, filthy cages at a notorious former chimpanzee-breeding
facllity called the Missouri Primate Foundation (MPF), owned and operated by Connie Braun. The facility has been cited over and
over by the U.S. Department of Agriculture (USDA) for failing to clean enclosures and allowing waste to build up and create a
harmful ammonia stench. MPF has also been cited for failing to provide adequate environmental enrichment for chimpanzees’
psychological and physical well-being. It’s time for these sensitive animals to get the care that they deserve at accredited
sanctuaries.

Chimpanzees are extremely intelligent beings, with complex physical, psychological, and social needs. In the wild, they live tn large
groups and spend their days traveling great distances to forage for food and patrol their territories. Like humans, they suffer fram
loneliness and depression when held in a constrictive, barren environment.

Braun has been operating MPF (formerly known as Chimparty) for nearly four decades. She is responsible for breeding a
chimpanzee named Travis, who was killed after he horrifically mauled a woman in 2009. Like Travis, dozens of chimpanzees bred
by Braun were also stolen from their mothers as infants and ended up as “pets.” Many have been abused for a cheap laugh in
movies, TV shows, commercials, or greeting cards. Some have spent most or ali of their lives at Braun’s facility as “breeders,” stuck
in cramped and filthy conditions.

Twenty-year-old Connor was used in movies, commercials, and music videos, and he is featured on greeting cards that are still on
store shelves. When he was 9 years old, he was dumped at MPF. Joey was also shipped off to MPF when he could no longer be a
“pet.” At 11 years old, he should be spending his days playing and running around with other juvenile chimpanzees—but instead,
he’s confined alone to a cage that has been so dirty that the USDA repeatedly cited the facility for sanitation issues, among myriad
other problems,

EXHIBIT

http:/Awww.peta.org/action/action-alerts/missouri-primate-foundation-chimpanzees/ 12/18/2016

Some chimpanzees who were born at MPF have been lucky enough to be retired fo accredited sanctuaries. In 2015, thanks toa
generous PETA patron, Lisa Marie was rescued from living alone in a windowless basement after she grew too big to be carted
around to various public appearances and parties. Now, she lives at the beautiful Save the Chimps sanctuary in a group of
chimpanzees who adore har. Her mother is apparently still held captive at MPF.

The chimpanzees who are suffering at MPF deserve a life in which they have room to roam, a safe and clean environment with an
abundance of enrichment to keep them occupied, and experienced sanctuary staff who can provide them with the veterinary care
that they desperately need. Speak up today and urge Braun to release all the chimpanzees to an accredited sanctuary.

Please call and send polite comments to:

Connie Braun
636-931-841 1
Chimparty@aol.com

Please feel jree to use our sample letter, but remember that using your own words is always more effective,

(http-www. peta.org)

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